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10
     Attorneys for Plaintiff Leslie A. Merritt, Jr.
11
                           IN THE UNITED STATES DISTRICT COURT
12
                                FOR THE DISTRICT OF ARIZONA
13
     Leslie A Merritt, Jr., a single man,    ) Case No.: CV17-4540-PHX-DGC
14                                           )
15                 Plaintiff,                )        SECOND AMENDED
            vs.                              )            COMPLAINT
16   State of Arizona, a body politic; Bill  )
     Montgomery, the elected Maricopa        )
17   County Attorney, in his official and    )
     individual capacities; Maricopa         )
18
     County, a body politic; Heston Silbert, )
19   in his individual capacity; Christopher )
     Kalkowski, in his individual capacity; )
20   Frank Milstead, in his individual       )
     capacity; Ken Hunter, in his individual )
21   capacity; Kelly M. Heape, in his        )
22   individual capacity; Jennifer Pinnow, )
     in her individual capacity, Anthony     )
23   Falcone, in his individual capacity;    )
     Edward Leiter, in his individual        )
24   capacity; Vanessa Losicco, in her       )
     individual capacity.                    )
25
                                             )
26
                   Defendants.               )

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 1   Plaintiff Leslie A. Merritt, Jr. alleges as follows:
 2
                               JURISDICTION AND VENUE
 3
     1.    This action arises under 42 U.S.C. § 1983 based on violations of the Fourth
 4
     and Fourteenth Amendments to the United States Constitution and the common
 5
     law of the State of Arizona.
 6

 7   2.    This Court has original jurisdiction pursuant to 28 U.S.C. § 1331 and 28 U.S.C.

 8   § 1343 and supplemental jurisdiction under 28 U.S.C. § 1367.
 9
     3.    Venue is proper as the actions arising from this case occurred in Maricopa
10
     County, Arizona.
11
     4.    Plaintiff demands a trial by jury.
12

13
                                            PARTIES

14   5.    Plaintiff Leslie Merritt, Jr. is a single man and a current resident of Clay

15   County, Florida.
16
     6.    Defendant State of Arizona is a body politic with administrative jurisdiction
17
     over the Arizona Department of Public Safety (DPS) and the DPS Central Regional
18
     Crime Lab (CRCL). The State is responsible for the administration, operation,
19

20
     maintenance, policies, procedures and functions of DPS and the CRCL. The State is

21   the employer, master, and/or principal of each individual DPS Defendants and the

22   other DPS and CRCL personnel who participated in the investigation, arrest, and/or
23
     criminal prosecution of Leslie Merritt, Jr.
24
     7.    The following individual Defendants work at the relevant times to this lawsuit
25
     in the stated capacities with the Arizona Department of Public Safety: DPS Deputy
26

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 1   Director Heston Silbert; DPS criminalist Christopher Kalkowski; DPS Director Col.
 2
     Frank Milstead; DPS Lt. Col Ken Hunter; DPS Major Kelly Heape; DPS Captain
 3
     Jennifer Pinnow; and DPS Detective Anthony Falcone (collectively "DPS
 4
     Defendants"). Each DPS Defendant is sued in his or her individual capacity. Each
 5
     DPS Defendant acted under color of state law.
 6

 7   8.    Defendant Bill Montgomery, in his official capacity, is and was, at all times

 8   relevant to this lawsuit, the elected Maricopa County Attorney. As the Maricopa
 9
     County Attorney, Montgomery is responsible for the administration, operation,
10
     maintenance, policies, procedures and functions of the Maricopa County Attorneys’
11
     Office, the implementation of policies and procedures, the training and supervision
12

13
     of staff, and the provision of criminal justice to all residents of Maricopa County,

14   including Leslie Merritt, Jr. Defendant Montgomery is the employer, master,

15   and/or principal of each individual Deputy County Attorney and staff member in
16
     the Maricopa County Attorney’s Office who participated in the investigation, arrest,
17
     and/or criminal prosecution of Leslie Merritt, Jr.
18
     9.    The following individual Defendants work in the stated capacities with the
19

20
     Maricopa County Attorney Office: Maricopa County Attorney Bill Montgomery,

21   Deputy County Attorney Edward Leiter, and Deputy County Attorney Vanessa

22   Losicco (collectively "MCAO Defendants"). Each MCAO Defendant is sued in his or
23
     her individual capacity. Each MCAO Defendant acted under color of state law.
24
     10.   Defendant Maricopa County is a body politic. Maricopa County is also the
25
     employer, master, and/or principal of each individual Deputy County Attorney and
26

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 1   staff member in the Maricopa County Attorney’s Office who participated in the
 2
     investigation and/or criminal prosecution of Leslie Merritt, Jr.
 3
                                     COMMON FACTS
 4
           A. The DPS Defendants undertook to investigate the I-10 Freeway
 5            Shooting Case.
 6
     11.    In the summer of 2015, the DPS Defendants undertook responsibility for
 7
     investigating a series of shootings that occurred along or near the I-10 freeway in
 8
     Phoenix, Arizona, which became known as the “I-10 Freeway Shooting Case.”
 9

10   12.    During its investigation, DPS retrieved bullets and/or bullet fragments from

11   four separate shooting incidents: Incidents A, B, C, and D.
12   13.    Incident A occurred August 29, 2015, at approximately 1103 hours involving
13
     a Cadillac Escalade traveling eastbound on the I-10 near 19th Avenue.
14
     14.    Incident B occurred at approximately 1109 hours involving a passenger bus
15
     traveling westbound on the I-10 near 43rd Avenue.
16

17   15.    Incident C occurred at approximately 2215 hours involving a Kia traveling

18   eastbound on the I-10 near the exit for northbound SR51 and eastbound SR 202.
19   16.    Incident D occurred August 30, 2015, between 2145 and 2215 hours involving
20
     a BMW traveling westbound on the I-10 near SR 51.
21
     17.    Defendants have failed to produce any evidence that Incident D occurred at
22
     any other time other than between 2145 hours and 2215 hours on August 30, 2015.
23

24   18.    Defendants have produced no evidence that Leslie Merritt, Jr. was at or near

25   the scene of any of the shooting incidents.

26

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28
 1   19.    On August 31, 2015, DPS Detective Ron Baroldy requested that the DPS crime
 2
     lab (hereinafter “CRCL”) analyze and compare the bullets and bullet fragments
 3
     recovered from the four shooting incidents.
 4
     20.    Defendant Christopher Kalkowski at the DPS crime lab told DPS detectives
 5
     that the evidentiary bullets and fragments from all four incidents all came from a
 6

 7   single firearm with certain class characteristics.

 8   21.    Kalkowski identified the evidentiary bullets and fragments as having been
 9
     fired from a 9mm handgun that caused cartridges to spiral three times with a
10
     leftward twist as they emerged from the barrel. Based on these characteristics,
11
     Kalkowski determined that the make and model of the firearm as a Model C9
12

13
     manufactured by Hi-Point.

14   22.    DPS crime lab personnel contacted Hi-Point and learned that the company

15   had produced about 286,800 Model C9 firearms that are capable of creating the
16
     characteristics that CRCL personnel purportedly found on the bullets and bullet
17
     fragments recovered in the various shooting incidents.
18
           B. The Pawn Shop Connection
19

20
     23.    Meanwhile, the DPS Defendants were under intense public pressure and

21   media scrutiny to solve the I-10 Freeway Shooting Case.

22   24.    By September 2015, DPS personnel were working overtime on the
23
     investigation.   Detectives normally assigned to other details within DPS were
24
     temporarily assigned to work on the I-10 Freeway Shooting Case as well. All the
25
     detectives in the General Investigations Unit were assigned to the I-10 Freeway
26

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 1   Shooting Case.
 2
     25.   On September 5, 2015, DPS officer Travis Graff started as a new detective on
 3
     the General Investigations Squad. He was immediately assigned to the I-10 Freeway
 4
     Shooting Case.
 5
     26.   Detective Graff had not at that time received any training in investigating
 6

 7   weapons-related offenses, gun identification, or ballistics.

 8   27.   While still being trained, Detective Graff was aware or became aware that DPS
 9
     had access to a computerized PAWN database.
10
     28.   The PAWN database, which is designed to assist in the recovery of stolen
11
     property, identifies the items in possession of various pawn shops.
12

13
     29.   Detective Graff asked his supervisor, Sgt. Tony Mapp, whether he could use

14   the system to see if any Hi-Point 9 mm firearms were in pawn shops.

15   30.   Sgt. Mapp responded that “if you want to buy a lottery ticket to go ahead,” or
16
     words to that effect.
17
     31.   Accordingly, on September 17, 2015, Detective Graff traveled to various pawn
18
     shops to collect Hi-Point 9mm Model C9 firearms that were in pawn. DPS collected
19

20
     eight such firearms, including more than one from Mo Money Pawn Shop, located

21   at 1152 East Indian School Road, Phoenix, Arizona.

22   32.   The PAWN database contained information about the various eight firearms,
23
     including the dates and times at which they were respectively pawned and retrieved
24
     by their owners.
25
     33.   At the time that Detective Graff collected one of the Hi-Point C9 firearms from
26

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28
 1   Mo Money Pawn, he knew from the PAWN database that it had been pawned by its
 2
     owner on August 30, 2016, at approximately 5:31 p.m., more than four hours
 3
     before the occurrence of Incident D.
 4
     34.   Records from Mo Money Pawn Shop confirmed that the firearm which
 5
     Detective Graff seized had been pawned there by Leslie Merritt, Jr. on August 30,
 6

 7   2016, at about 5:31 p.m.

 8   35.   On September 17, 2015, Detective Graff took the pawn shop firearms,
 9
     including Leslie Merritt’s, to the DPS crime lab. Defendant Kalkowski was waiting
10
     for him.
11
     36.   At the time, Kalkowski was suffering from a severe back injury and had been
12

13
     taking narcotic pain medication prescribed by at least one physician.

14   37.   At or around the same time, DPS personnel were searching Leslie Merritt’s

15   Facebook profile and saw that he had shared newspaper articles about the I-10
16
     Freeway Shooting Case.
17
     38.   DPS personnel told the crime lab to test Leslie Merritt’s gun first.
18
     39.   Defendant Kalkowski intentionally, knowingly and recklessly falsified his
19

20
     methodology to analyze the evidentiary bullets and fragments.

21   40.   The evidentiary bullets and fragments submitted to the DPS crime lab

22   contained insufficient data for a firearm examiner to make a positive individualized
23
     match to any particular firearm.
24
     41.   Defendant Kalkowski intentionally, knowingly and recklessly failed, among
25
     other things, to line up the driving edges of the lands when comparing test fire and
26

27
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28
 1   evidentiary bullets. As a result, Kalkowski's conclusions were false.
 2
     42.    Despite his knowing and reckless use of flawed methodology, on September
 3
     18, 2015, at 8:08 a.m., Defendant Kalkowski called Detective Graff and told him that
 4
     the evidence bullets from all four shooting were a “100% match” to Leslie Merritt’s
 5
     gun.
 6

 7   43.    Defendant Kalkowski told Detective Graff that the “100% match” was true of

 8   all four incidents with respect to Merritt’s gun.
 9
     44.    The statement of Defendant Kalkowski that Merritt’s gun was the firearm that
10
     fired the bullets in all four shootings to a “100% certainty” was the only evidence
11
     that linked Merritt to any of the shooting incidents.
12

13
     45.    Without the statement of Defendant Kalkowski, Leslie Merritt would not have

14   been subject to an arrest, incarceration, attempted prosecution, deprivation of his

15   civil rights, and damages.
16
     46.    Leslie Merritt, Jr. is factually innocent of any of the crimes with which he was
17
     charged or arrested.
18
           C. Defendant Kalkowski Misled the Police About the Probability of
19            an Identification
20
     47.    Defendant Kalkowski intentionally and/or recklessly misled detectives that
21
     they could identify Leslie Merritt’s firearm as the source of the evidentiary bullets
22
     and fragments for all four incidents with “100% certainty.”
23

24   48.    Firearms examiners, like other applied scientists, are subject to cognitive

25   biases and distortions, such as confirmation bias, hindsight bias, contextual bias,

26

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28
 1   and outcome bias, which compromise the accuracy of their conclusions. Firearms
 2
     examiners are particularly prone to such biases and distortions when working under
 3
     the pressure of a high profile case.
 4
     49.    The Arizona Department of Public Safety Crime Lab failed to implement
 5
     safeguards to detect and eradicate bias among its firearms examiners.
 6

 7   50.    In this case, Defendant Kalkowski had only identified general class

 8   characteristics of the evidentiary bullets. He failed to identify the individual
 9
     characteristics of the evidence bullets as having been fired from any particular
10
     firearm.
11
     51.     Defendant Kalkowski's actions and omissions lacked a scientific basis and
12

13
     violated the standards of the firearms community.

14         D. DPS Defendants Knew that the Crime Lab Had Botched the
              Identification
15
     52.    On September 18, 2015, DPS detectives executed a search warrant at the MO
16

17   Money Pawn Shop and picked up several pawn slips.

18   53.    Before arresting Leslie Merritt, Defendants recognized that Leslie Merritt’s
19   gun was at the pawn shop on August 30, 2015, at 5:31 p.m., before the time of the
20
     fourth shooting, Incident D.
21
     54.    Defendants recognized that it was physically impossible for Leslie Merritt’s
22
     firearm to have been used in Incident D when it was in the pawn shop.
23

24   55.    Defendants lacked any evidence that Leslie Merritt did not pawn his gun at

25   5:31 p.m. on August 30, 2015.

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 1   56.     Since the Kalkowski identified each of the evidentiary bullets and fragments
 2
     to Leslie Merritt’s gun with 100% certainty for each of the four incidents, DPS
 3
     Defendants recognized that if Incident D could not be linked Leslie Merritt’s
 4
     firearm, then none of the incidents could be linked to the firearm.
 5
     57.     In other words, Defendants recognized before the arrest of Leslie Merritt, Jr.
 6

 7   that only one of two scenarios could be true: either (a) Kalkowski misidentified the

 8   evidentiary bullets as having been fired from Leslie Merritt’s gun, or (b) Incident D
 9
     did not occur when Merritt’s gun was in the custody of Mo Money Pawn Shop.
10
           E. All Defendants Fabricated a Timeline to Fit a Theory
11
     58.     In response to their dilemma, Defendants should have obtained independent
12

13
     firearms analysis from outside DPS.          Instead, Defendants blithely chose to

14   completely discount the first scenario and, rather, invented a theory that the tire

15   involved in Incident D must have been shot days earlier, with the bullet lodging in
16
     the sidewall of the tire, only to later dislodge and deflate the tire on the night of
17
     August 30, 2015, after Leslie Merritt’s gun was in the pawn shop.
18
     59.     To bolster their fabricated theory, DPS detectives conducted a second
19

20
     interview with the driver of the BMW involved in Incident D and suggested that he

21   was incorrect in his timing of the fourth shooting. The BMW driver disregarded their

22   suggestion, reiterating that he could tell that the tire deflated promptly upon being
23
     shot.
24
     60.     During the pendency of the criminal case against Plaintiff, DPS consulted
25
     with forensic scientist Lucien C. Haag to examine the BMW tire. Haag informed DPS
26

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28
 1   that the bullet striking the tire caused it to deflate almost immediately and no bullet
 2
     ever lodged for a period of days before causing the tire to deflate.
 3
     61.     In fact, Defendants knew that the gouge marks on the BMW tire from Incident
 4
     D establish that the bullet passed immediately through the tire causing it to deflate
 5
     almost instantaneously.
 6

 7   62.     In two separate interviews with DPS detectives, the driver of the vehicle of

 8   Incident D was adamant that the shooting occurred between approximately 9:45
 9
     and 10:15 p.m. on Sunday, August 30, 2015, and that that the bullet did not lodge in
10
     the sidewall based on all of his observation and knowledge.
11
     63.     DPS knew or had reason to know that no objective evidence had ever
12

13
     supported the claim that the bullet was lodged in the tire for days before it finally

14   caused the tire to deflate.

15   64.     Defendants knew that without evidence to support a change in the time of
16
     Incident D, Defendant Kalkowski's statements were unreliable and failed to support
17
     that Leslie Merritt had committed any crime. Rather than obtain an independent
18
     firearms analysis to resolve their dilemma, Defendants rushed ahead to blame Leslie
19

20
     Merritt, Jr.

21         F. All Defendants were Integral Participants in the Arrest.

22   65.     All Defendants caused or were an integral participant in the arrest of Leslie
23
     Merritt, Jr. without probable cause that he committed a crime.
24
     66.     On September 18, 2015, Defendants Silbert, Milstead, Hunter, Heape, and
25
     Pinnow ordered that Leslie Merritt should be arrested.
26

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 1   67.    According to Defendant Milstead, the MCAO Defendants also participated in
 2
     the decision to arrest Leslie A. Merritt, Jr..
 3
     68.    Without the participation of each Defendant, Leslie Merritt would not have
 4
     been arrested.
 5
     69.    The arrest of Leslie Merritt, Jr. occurred without an arrest warrant.
 6

 7   70.    Defendants failed to produce any evidence that Mr. Merritt was present at the

 8   scene of any of these shootings or that he unlawfully fired a gun. As Mr. Merritt was
 9
     and is factually innocent of the charges, there was no such evidence that could be
10
     produced.
11
           G. Leslie Merritt, Jr. was Working and Taking Care of His Family
12

13
     71.    On September 18, 2015, Leslie Merritt was 21 years old. He was working as a

14   landscaper and parenting two young children.

15   72.    At about 6:15 p.m., Leslie Merritt was driving to Walmart to buy some diapers
16
     and wipes for his five-month-old daughter.
17
     73.    After completing his purchase, he proceeded to the parking lot to return to his
18
     car. Suddenly, he saw Department of Public Safety SWAT officers rushing toward
19

20
     him, pointing their automatic rifles, and yelling at him to get on the ground.

21   74.    Defendants forced him to face lay down on the parking lot.

22   75.    Next, DPS drove him to an interrogation room and interrogated him for over
23
     an hour, accusing him of a crime he did not commit.
24
     76.    Leslie repeatedly declared his innocence.
25
     77.    During the interrogation, DPS detectives lied to Leslie Merritt and told him
26

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28
 1   that they had a video of him.
 2
     78.    Leslie Merritt asked to see the alleged video. No such video exists.
 3
     79.    Leslie never asked for a lawyer. He thought that since he was answering all
 4
     of their questions and has never fired a weapon at anyone, he would be going home.
 5
     80.    Instead, DPS officers booked Leslie Merritt into 4th Avenue Jail. Defendant
 6

 7   Falcone intentionally used false information in booking paperwork because he

 8   recognized that no probable cause existed to arrest Leslie Merritt.
 9
     81.    Merritt would not be released until he had spent over two hundred days in
10
     solitary confinement.
11
           H. Defendants Suppressed Material Exculpatory Evidence Before
12            the Grand Jury and Delayed Disclosure to Merritt’s Counsel.
13
     82.    After the warrantless arrest of Leslie Merritt, MCAO Defendants chose to
14
     bring the case before the Grand Jury.
15
     83.    The Maricopa County prosecutor, Defendant Edward Leiter, misled the
16

17   Grand Jury that Incident D occurred between the dates of August 22, 2015, and

18   August 27, 2015.
19   84.    All Defendants knew that Leslie Merritt did not have access to his gun at the
20
     time of the fourth shooting incident.
21
     85.    Defendants knew that zero evidence supported their fabricating a timeline to
22
     account for Incident D and hence grant credence to Kalkowski's misidentification.
23

24   86.    Defendants deliberately misled the Grand Jury that they had any evidence to

25   support their theory that the bullet lodged in the inner sidewall of the BMW tire.

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 1   87.    Defendants deliberately failed to disclose to the Grand Jury the physical
 2
     evidence of gouge marks on the BMW tire showing conclusively that the bullet
 3
     passed right through the tire, and that the Defendants’ theory of the bullet lodging
 4
     in the tire was baseless.
 5
     88.    Defendants misled the Grand Jury that the crime lab had “definitively” and
 6

 7   had “100 percent ballistically identified” Leslie Merritt’s firearm to have fired the

 8   bullets from the four shooting incidents.
 9
     89.    Defendants deliberately misled the Grand Jury that the driver of the vehicle
10
     in Incident D was “assuming or guessing” or “unsure” about when his BMW tire
11
     sustained damage.
12

13
     90.    Defendants deliberately suppressed material, exculpatory evidence during

14   the prosecution, including specifically the second interview of the BMW driver in

15   Incident D and license plate reader (LPR) data.
16
           I. Montgomery Knew that Merritt was not the Freeway Shooter
17
     91.    Montgomery, MCAO Defendants, and Maricopa County recognized that the
18
     DPS Crime Lab had botched the identification.
19

20
     92.    As a result, Montgomery, MCAO Defendants, and Maricopa County retained

21   criminalist Lucien C. Haag to examine the ballistic evidence in the case.

22   93.    On or about February 3, 2016, Haag collected Merritt’s gun and the
23
     evidentiary bullets and bullet fragments from the DPS crime lab.
24
     94.    Mr. Haag reviewed the DPS criminalists’ work and conducted his own
25
     investigation. He failed to match Leslie Merritt’s gun as the source of any of the
26

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28
 1   evidentiary bullets or bullet fragments in any of the shootings.
 2
     95.    In February 2016, Haag informed Montgomery, MCAO Defendants, and
 3
     Maricopa County that he could not match Leslie Merritt's gun as the source of any
 4
     evidence in the case.
 5
     96.    In April 2016, Montgomery, MCAO Defendants, and Maricopa County also
 6

 7   retained John E. Murdock, Forensic Consultant, who also examined the ballistic

 8   evidence. Mr. Murdock informed Montgomery, MCAO Defendants, and Maricopa
 9
     County that he could not match Leslie Merritt's gun as the source of any evidence in
10
     the case.
11
     97.    On or about April 19, 2016, Leslie Merritt, Jr. was released from jail.
12

13
     98.    On April 22, 2016, Montgomery and MCAO Defendants filed a motion to

14   dismiss the criminal case against Leslie Merritt, Jr.

15   99.    On April 25, 2016, the court dismissed the criminal case.
16
     100. On or about April 29, 2016, at the request of Defendant Silbert, forensic
17
     scientist Gregory Klees of the Bureau of Alcohol, Tobacco, and Firearms conducted
18
     an independent examination of Merritt’s firearm and the evidentiary bullets. Mr.
19

20
     Klees, along with Mr. Haag and Mr. Murdock, failed to match Leslie Merritt's

21   firearm as the source of any evidence in the I-10 Freeway Shooting Case.

22   101.   All the while, Leslie Merritt has suffered intensely and immensely from the
23
     false accusations which all Defendants have levied against him.
24
     102. As a result of Defendants’ actions, Leslie Merritt, Jr. is afraid that DPS is
25
     continuing to conduct covert surveillance of him. He feels threatened and
26

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                                               -15-
28
 1   vulnerable. He has had difficulty sleeping and experienced loss of appetite. He
 2
     tends to avoid social situations and is sometimes recognized in public and
 3
     confronted by strangers.
 4
     103. Even after the dismissal of all charges against Merritt, Defendant Milstead
 5
     and Defendant Silbert have testified that DPS still believes that Merritt is the I-10
 6

 7   Freeway Shooter.

 8   104. Some or all of the DPS Defendants have caused ongoing surveillance of Leslie
 9
     Merritt, Jr. causing him emotional distress.
10
     105. Defendant Montgomery still makes public comments that Leslie Merritt, Jr.
11
     is a suspect, although the evidence supporting his innocence is only getting stronger.
12

13
                        FIRST CAUSE OF ACTION – False Arrest
                        (Against All DPS and MCAO Defendants)
14
     106. Plaintiffs re-allege each and every allegation contained above as though more
15
     fully set forth herein.
16

17   107. This Cause of Action is brought pursuant 42 U.S.C. § 1983 and the Fourth

18   Amendment to the Constitution of the United States.
19   108. All Defendants acted during all relevant times under color of law.
20
     109. On September 18, 2015, the defendants, individually and in concert with the
21
     others, did deprive Leslie A Merritt, Jr. of his rights secured by the Fourth
22
     Amendment to the United States Constitution, including his right to be secure in his
23

24   person and free from unlawful arrest.

25   110.   Defendants' actions were a direct and proximate cause of DPS officers

26

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28
 1   arresting Leslie Merritt, Jr. without a warrant.
 2
     111.     Defendants are unable to establish that the arrest was founded upon probable
 3
     cause.
 4
     112.     As a direct and proximate result of Defendants’ misconduct, Leslie Merritt
 5
     suffered severe physical pain, mental anguish, and emotional distress, medical
 6

 7   expenses, and lost wages in an amount to be proven at trial.

 8                  SECOND CAUSE OF ACTION- False Imprisonment
                        (Against All DPS and MCAO Defendants)
 9

10   113.     Plaintiff re-alleges and incorporates by reference each and every allegation

11   contained above as though more fully set forth herein.
12   114.     This Cause of Action is brought pursuant 42 U.S.C. § 1983 and the Fourteenth
13
     Amendment to the Constitution of the United States.
14
     115.     Defendants’ actions as indicated above constitute false imprisonment.
15
     116.     Defendants caused Leslie Merritt to be imprisoned against his will.
16

17   117.     As a direct and proximate result of Defendants’ acts, omissions, and

18   constitutional violations alleged above, Leslie Merritt suffered severe physical pain,
19   mental anguish, and emotional distress, medical expenses, and lost wages in an
20
     amount to be proven at trial.
21
                    THIRD CAUSE OF ACTION -Malicious Prosecution
22                      (Against All DPS and MCAO Defendants)
23
     118.     Plaintiff re-alleges by reference every allegation contained above as though
24
            more fully set forth herein.
25
     119.     This Cause of Action is brought pursuant to the Fourteenth Amendment and
26

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28
 1   42 U.S.C. § 1983.
 2
     120. Defendants initiated or caused a criminal proceeding to be brought against
 3
     Leslie Merritt, Jr.
 4
     121.     The Defendants’ criminal prosecution of Leslie Merritt, Jr. terminated in his
 5
     favor.
 6

 7   122. The prosecution lacked probable cause.

 8   123. Defendants acted with malice, or with a primary purpose other than to bring
 9
     Leslie Merritt, Jr. to justice.
10
     124. Defendants acted with the intent to deprive Leslie Merritt, Jr. of equal
11
     protection of the laws and intended to subject him to a denial of his constitutional
12

13
     rights.

14   125. As a direct and proximate result of Defendants’ acts, omissions, and

15   constitutional violations alleged above, Leslie Merritt, Jr. suffered severe physical
16
     pain, mental anguish, emotional distress, medical expenses, and lost wages in an
17
     amount to be proven at trial.
18
               FOURTH CAUSE OF ACTION - 42 U.S.C. § 1983 Brady claim
19                   (Against All DPS and MCAO Defendants)
20
     126. Plaintiff re-alleges by reference every allegation contained above as though
21
     more fully set forth herein.
22
     127.     This Cause of Action is brought pursuant to the due process clause of the
23

24   Fourteenth Amendment and 42 U.S.C. § 1983.

25   128. During the pendency of the criminal action against Leslie Merritt, Jr.,

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 1   Defendants acted with deliberate indifference or reckless disregard by withholding
 2
     or concealing evidence that strongly indicated Merritt's innocence of the crimes for
 3
     which he was held and which were reasonably likely to have resulted in a dismissal
 4
     of the charges against him if revealed.
 5
     129. In particular, Defendants failed to timely disclose, among other things, the
 6

 7   second interview of Alfred Hackbarth which occurred on September 22, 2015,

 8   License Plate Reader data, undercover ("honeypot") website data, and crime lab
 9
     notes.
10
     130. The failure of Defendants to disclose such highly exculpatory evidence
11
     occurred while Defendants understood the risks to the Plaintiff's rights by virtue of
12

13
     their withholding the information, or they were completely indifferent to those

14   risks.

15   131.     As a direct and proximate result of Defendants’ acts, omissions, and
16
     constitutional violations alleged above, Leslie Merritt, Jr. was detained for an
17
     excessive and unusual period of time.
18
     132. As a direct and proximate result of Defendants’ acts, omissions, and
19

20
     constitutional violations alleged above, Leslie Merritt suffered severe physical pain,

21   mental anguish, and emotional distress, medical expenses, and lost wages in an

22   amount to be proven at trial.
23
     133. As a direct and proximate result of Defendants’ acts, omissions, and
24
     constitutional violations alleged above, Leslie Merritt suffered severe physical pain,
25
     mental anguish, and emotional distress, medical expenses, and lost wages in an
26

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28
 1   amount to be proven at trial.
 2
                        FIFTH CAUSE OF ACTION – False Arrest
 3                            (Against State of Arizona)

 4   134. Plaintiffs re-allege each and every allegation contained above as though more
 5   fully set forth herein.
 6
     135. This Cause of Action is brought pursuant to Arizona common law.
 7
     136. On September 18, 2015, DPS officers arrested Leslie Merritt, Jr. without a
 8
     warrant.
 9

10   137.     The State is unable to establish that the arrest was founded upon probable

11   cause.
12   138. The State of Arizona is liable under the doctrine of respondeat superior for
13
     the tortious acts of its law enforcement and crime lab personnel committed within
14
     the scope of their employment.
15
     139. As a direct and proximate result of Defendants’ misconduct, Leslie Merritt
16

17   suffered severe physical pain, mental anguish, and emotional distress, medical

18   expenses, and lost wages in an amount to be proven at trial.
19                 SIXTH CAUSE OF ACTION- False Imprisonment
20
            (Against Defendants State of Arizona, Maricopa County, and Bill
                                    Montgomery)
21
     140. Plaintiffs re-allege and re-incorporate by reference each and every allegation
22
     contained above as though more fully set forth herein.
23

24   141.     This Cause of Action is brought pursuant to Arizona common law.

25   142. Defendants’ actions as indicated above constitute false imprisonment.

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 1   143. Defendants caused Leslie Merritt to be imprisoned against his will.
 2
     144. As a direct and proximate result of Defendants’ acts, omissions, and
 3
     constitutional violations alleged above, Leslie Merritt suffered severe physical pain,
 4
     mental anguish, and emotional distress, medical expenses, and lost wages in an
 5
     amount to be proven at trial.
 6

 7
                 SEVENTH CAUSE OF ACTION -Malicious Prosecution
 8          (Against Defendants State of Arizona, Maricopa County, and Bill
                                    Montgomery)
 9

10   145. Plaintiffs re-allege by reference every allegation contained above as though

11   more fully set forth herein.
12   146. This Cause of Action is brought pursuant to Arizona law.
13
     147.    Defendants initiated or caused a criminal proceeding to be brought against
14
     Leslie Merritt, Jr.
15
     148. The Defendants’ criminal prosecution of Leslie Merritt, Jr. terminated in
16

17   Leslie’s favor.

18   149. The prosecution lacked probable cause.
19   150. In their investigatory process, Defendants acted with malice, or a primary
20
     purpose other than to bring Leslie Merritt to justice.
21
     151.    As a direct and proximate result of Defendants’ acts, omissions, and
22
     constitutional violations alleged above, Leslie Merritt suffered severe physical pain,
23

24   mental anguish, and emotional distress, medical expenses, and lost wages in an

25   amount to be proven at trial.

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 1      EIGHTH CAUSE OF ACTION- Negligence and/or Gross Negligence
         (Against Defendants State of Arizona, Maricopa County, and Bill
 2
                                 Montgomery)
 3
     152. Plaintiff re-alleges by reference every allegation contained above as though
 4
     more fully set forth herein.
 5
     153. This Cause of Action is brought pursuant to Arizona common law.
 6

 7   154.     Defendants had a legal duty of care to Leslie Merritt, Jr.

 8   155.     Defendants and each of them fell below the standard of care in their treatment
 9
     of Leslie Merritt by, among other things, failing to follow accepted scientific
10
     methodology in the crime lab, concealing material fundamental evidence from the
11
     grand jury, failing to disclose material fundamental evidence during the course of
12

13
     the prosecution, and violating AZ CONST Art. 2 § 4.

14   156. As a direct and proximate result of Defendants’ acts, omissions, and violations

15   alleged above, Leslie Merritt suffered severe physical pain, mental anguish, and
16
     emotional distress, medical expenses, and lost wages in an amount to be proven at
17
     trial.
18
             NINTH CAUSE OF ACTION- Intentional Infliction of Emotional
19                                     Distress
20
            (Against Defendants State of Arizona, Maricopa County, and Bill
                                    Montgomery)
21
     157.       Plaintiff re-alleges by reference every allegation contained above as though
22
     more fully set forth herein.
23

24   158. This Cause of Action is brought pursuant to Arizona common law.

25   159.     As described above, the conduct of each Defendant was extreme and

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 1   outrageous.
 2
     160. Each Defendant either intend to cause emotional distress or recklessly
 3
     disregard the near certainty that such distress would result from their conduct.
 4
     161.   As a result of each Defendants conduct, Leslie Merritt, Jr. was caused to
 5
     endure severe emotional distress.
 6

 7   162. In addition, as a direct and proximate result of Defendants’ acts, omissions,

 8   and violations alleged above, Leslie Merritt suffered severe physical pain, mental
 9
     anguish, and emotional distress, medical expenses, and lost wages in an amount to
10
     be proven at trial.
11
        TENTH CAUSE OF ACTION- Aiding and Abetting Tortious Conduct
12       (Against Defendants State of Arizona, Maricopa County, and Bill
13
                                 Montgomery)

14   163. Plaintiff re-alleges by reference every allegation contained above as though

15   more fully set forth herein.
16
     164. Each Defendant has aided and abetted others in committing tortious acts
17
     against Leslie Merritt.
18
     165. This Cause of Action is brought pursuant to Arizona common law.
19

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     166. As expressed above in causes of action One through Five, each Defendant has

21   committed a tort or torts that has caused injury to Leslie Merritt, Jr.

22   167.   Defendants Montgomery and Maricopa County knew that the State of Arizona
23
     breached a duty of reasonable care to Leslie Merritt, Jr.
24
     168. Defendants Montgomery and Maricopa County provided substantial
25
     assistance or encouragement to the State of Arizona in the achievement of the
26

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 1   breach of reasonable care to Leslie Merritt, Jr.
 2
     169. Defendant State of Arizona knew that Defendants Montgomery and Maricopa
 3
     County breached a duty of reasonable care to Leslie Merritt, Jr.
 4
     170. Defendant State of Arizona provided substantial assistance or encouragement
 5
     to Defendants Montgomery and Maricopa County in the achievement of the breach
 6

 7   of reasonable care to Leslie Merritt, Jr.

 8   171.   As a direct and proximate result of Defendants’ acts, omissions, and
 9
     constitutional violations alleged above, Leslie Merritt suffered severe physical pain,
10
     mental anguish, and emotional distress, medical expenses, and lost wages in an
11
     amount to be proven at trial.
12

13
            WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

14          A.    For general damages experienced by Leslie Merritt, Jr.;

15          B.    For such medical and medical expenses as may be reasonably incurred
16
                  by Plaintiff in the future and as may be proven at the time of trial;
17
            C.    For past and future loss of earnings/loss of earning capacity;
18
            D.    For exemplary damages;
19

20
            E.    For Plaintiff's attorney's fees under 42 U.S.C. § 1988;

21          F.    For Plaintiff's court costs incurred herein and legal interest; and,

22          G.    For such other and further relief as the Court may deem just and
23
                  proper.
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 1         Dated this 8th day of December 2017.
 2
                                    LAW OFFICES OF DAVID J. DON, PLLC
 3
                                     By: /s/ David J Don
 4                                       David J. Don
                                         Attorney for Plaintiff Leslie Merritt, Jr.
 5

 6

 7                            CERTIFICATE OF SERVICE

 8           I hereby certify that on this 8th day of December 2017, I electronically
     transmitted the attached document to the Clerk’s Office using the CM/ECF system
 9
     for filing and transmittal of a Notice of Electronic Filing to the following CM/ECF
10   registrants:
                                         Clerk of the Court
11                       United States District Court, District of Arizona
                                Sandra Day O’Connor Courthouse
12                                    401 W. Washington St.
13
                                        Phoenix, AZ 85003

14                                 Michele Iafrate, Esq.
                                   Iafrate & Associates
15                              649 North Second Avenue
                                 Phoenix, Arizona 85003
16
                                miafrate@iafratelaw.com
17         Attorneys for Defendants Maricopa County and William Montgomery

18                               Edward F. Novak, Esq.
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22   Attorneys for Defendant State of Arizona, Heston Silbert, Christopher Kalkowski,
     Frank Milstead, Ken Hunter, Kelly M. Heape, Jennifer Pinnow, Anthony Falcone
23

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                                   Vanessa Losicco
 5

 6
     By: /s/David J. Don
 7

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